           Case 1:12-cr-00168-DAD-BAM Document 18 Filed 08/23/12 Page 1 of 2


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     Attorney at Law
2    P. O. Box 5622
     Fresno, California 93755-5622
3    559/248-9833

4    Attorney for defendant Shirley Davidson

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7
                   IN THE UNITED STATES DISTRICT COURT IN AND FOR
8
                           THE EASTERN DISTRICT OF CALIFORNIA
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12
13
     UNITED STATES OF AMERICA,            )             Case No. 1:12-cr-00168 AWI/DLB
14                                        )
                                          )             STIPULATION TO CONTINUE STATUS
15                      Plaintiff,        )             CONFERENCE HEARING, AND ORDER
                                          )             THEREON
16   v.                                   )
                                          )             New Date: September 24, 2012
17   SHIRLEY DAVIDSON, et al.,            )             Time: 1 p.m.
                                          )
18                                        )             Crtrm: 9 Hon. D. L. Beck
                        Defendants.       )
19   _______________________________ ____ )

20
            IT IS HEREBY STIPULATED by and between the parties hereto, and through
21
     their respective attorneys of record herein, that the Status Conference Hearing, in the
22
     above captioned matter, scheduled for August 27, 2012 at 1:00 p.m., may be continued
23
     to September 24, 2012, 1:00 p.m.
24
            Counsel for defendant Shirley Davidson desires additional time to consult with
25
     her client, to review investigation materials and to enable defendant Shirley Davidson
26
     to attend the funeral services for her step-father in Patterson, California, Monday,
27
28                                                  1
           Case 1:12-cr-00168-DAD-BAM Document 18 Filed 08/23/12 Page 2 of 2


1    August 27, 2012.

2             For purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161, et

3    seq., within which trial must commence, the time period of August 27, 2012 to

4    September 24, 2012, inclusive, is deemed excludable because it results from a

5    continuance granted by the Court at defendant’s request on the basis of the Court’s

6    finding that the ends of justice served by taking such action outweigh the best interest

7    of the public and the defendant in a speedy trial.

8                   So stipulated.

9
     Dated:     August 22, 2012                             /s/ Carolyn D. Phillips
10                                                        CAROLYN D. PHILLIPS
                                                          Attorney for Shirley Davidson
11
12
     Dated:     August 22, 2012                           /s/ James Homola
13                                                        JAMES HOMOLA
                                                          Attorney for James Davidson
14
15   Dated:     August 22, 2012                           BENJAMIN B. WAGNER
                                                          United States Attorney
16
17                                                By:     /s/Grant B. Rabenn
                                                          GRANT B. RABENN
18                                                        Attorneys for the United States.

19
20
                                                ORDER
21
22
           IT IS SO ORDERED.
23
           Dated:       August 23, 2012                       /s/ Dennis L. Beck
24   3b142a                                             UNITED STATES MAGISTRATE JUDGE

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28                                                  2
